Case 1:18-cv-00936-TSE-JFA Document 4 Filed 08/08/18 Page 1 of 5 PageID# 22



                           THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

Delbert Terrill, et al                        )
                                              )
        Plaintiffs,                           )
                                              )
        v.                                    )                      Case No. 1:18cv936-TSE/JFA
                                              )
John Doe, et al                               )
                                              )
        Defendants.                           )

                         Plaintiffs Memorandum of Law in Support of Motion
                                for an Order to Publish Notice of Action

        Plaintiffs Delbert Terrill (hereinafter Terrill) and Brandon Gray Internet Services, Inc.

dba NameJuice.com (hereinafter NameJuice), by counsel, respectfully submits this memorandum

of law in support of their motion for an order pursuant to 15 U.S.C. 1125(d)(2)(A)ii)(II)(bb) to

publish notice of the in rem portion of this matter against the Defendant Domain Name and for

leave to serve process in this matter by email and publication.

                                              I. Facts

        On July 30, 2018 the Plaintiffs filed their complaint in this matter both in rem, seeking

return of the Defendant Domain Name, as well as seeking other relief against Defendant John

Doe. The Complaint alleges, inter alia, claims under the Anticybersquating Consumer

Protection Act of 1999, 15 U.S.C. § 1125(d) (the “Act”), and the Computer Fraud and Abuse

Act, 18 U.S.C. § 1030 as well as tortuous interference with contractual relationships and

conversion.




                                                  1
Case 1:18-cv-00936-TSE-JFA Document 4 Filed 08/08/18 Page 2 of 5 PageID# 23



         The Plaintiff registered the Defendant Domain Name on October 16, 1995, has

maintained registration from that date until the theft of the Defendant Domain Name and has

used it continuously in commerce from registration until it was stolen. (Compliant ¶¶6-12.)

Upon information and belief, Defendant Doe used stolen credentials to gain access to Plaintiff

Terrill’s domain name management account on the secure domain name management system

maintained by Plaintiff NameJuice and transferred the defendant domain away from Plaintiff

Terrill. (Compliant ¶11, 12.) Defendant Doe has concealed his identity behind a privacy

service. (Compliant ¶¶13.) The actual location of the Defendant Doe is unknown, and is not

subject to in personam jurisdiction anywhere in the United States.

                                              II. Argument

         1.     Anticybersquating Consumer Protection Act

         The Act authorizes the Plaintiff to proceed in rem against the domain name. 15 U.S.C. §

1125(d)(2)(A)(ii). The Act provides that in an in rem action such as the one before the Court,

service of process shall be made by:

         (aa)   sending a notice of the alleged violation and intent to proceed under this
                paragraph to the registrant of the domain name at the postal and e-mail address
                provided by the registrant to the registrar; and
         (bb)   publishing notice of the action as the court may direct promptly after filing the
                action.

         15 U.S.C. § 1125(d)(2)(A)(ii)(II).

         The Plaintiff has complied with the provisions of subsection (aa) above. The Plaintiff

sent the current registrant of the Defendant Domain Name notice of this action and a copy of the

Complaint by mail and email to the address provided. (See Westreich Declaration.) Thus, all

that remains to complete service of process is the publication of notice as may be directed by the

Court.


                                                   2
Case 1:18-cv-00936-TSE-JFA Document 4 Filed 08/08/18 Page 3 of 5 PageID# 24



       Section 2(A)(ii)(II)(bb) of the Act requires an in rem plaintiff to provide notice of the in

rem proceedings by publishing notice of the action as the court may direct promptly after filing

of the action. This Court has held that notice by publication is required in in rem proceedings.

See Facton, Ltd. v. Gstaronsale.com, No. 1:10cv1165 (AJT/JFA), (E.D. Va., Feb. 17, 2011).

The Court in Facton reasoned that notice by publication was necessary to ensure that the rightful

owner of the res receive prompt notice. Id. at 4-5. While the notice provisions of sub-section

(aa) provide notice to the registrant, if there were another entity claiming ownership of the res,

notice under sub-section (aa) would not reach that potential necessary party. Id. at 6.

Publication is necessary to provide notice to the public. Id. The Plaintiff is seeking an order of

publication shortly after filing the complaint to accomplish both the goal of notice to the public

as well as to ensure prompt notice of any potential necessary party, e.g. another entity claiming

ownership of the res.

       The Plaintiff requests an order that notice shall be given by a single publication in The

Washington Times as set forth in the proposed Order submitted herewith.

       In addition, the Plaintiff requests that the Court grant leave to concurrently serve process

by email and publication for the Plaintiff’s alternative Computer Fraud and Abuse claim and the

other claims asserted in the Complaint.

       Due process is satisfied where the notice is reasonably calculated, under all of the

circumstances, to apprise the party of the pendency of the action and afford them an opportunity

to present their objections. Id. (citing Mullane v. Central Hanover Bank and Trust Co., 339 U.S.

306, 314 (1950)).




                                                 3
Case 1:18-cv-00936-TSE-JFA Document 4 Filed 08/08/18 Page 4 of 5 PageID# 25



       Here, the Defendant has not provided a name, or address other than the privacy service to

which notice has been provided. This is Defendant Doe’s attempt to conceal his identity and

location to avoid liability for his theft of the Defendant Domain Name.

       Defendant Doe relies, as does the entire domain buy-and-sell market, on electronic

communications with registrars and customers demonstrating that this is a reliable means of

apprising Defendant Doe of the pendency of this action. Further, Defendant Doe relied on

electronic communications with the domain name registrar for the purpose of transferring the

Defendant Domain Name away from the control of Plaintiff Terrill. In fact, given the failure to

provide a real address and his use of privacy systems, electronic communications is the only way

to reach Defendant Doe. And finally, there is no way to ascertain the exact physical location of

the Defendant given the information provided.

       Given Defendant Doe’s efforts at obfuscation to avoid identification and liability,

concurrent service by publication and email of all of the Plaintiff’s claims is in the public

interest, comports with due process and should be allowed.

Conclusion

       The Plaintiffs submit that service by email alone would be reasonable under the

circumstances to apprize the Defendant of this action but has requested the addition method of

publication to effect service.




                                                  4
Case 1:18-cv-00936-TSE-JFA Document 4 Filed 08/08/18 Page 5 of 5 PageID# 26



       Wherefore, for the reasons set forth above, it is respectfully requested that this Court

enter an order granting leave to serve process in this matter by email and publication and for

such other relief as this Court deems just and proper.

Date: August 8, 2018
                                                     Respectfully Submitted,

                                                     Delbert Terrill and
                                                     Brandon Gray Internet Services, Inc.
                                                     dba NameJuice.com
                                                     by counsel
       /s
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